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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


 BABY DOE, et al.,                                   )
                                                     )
                Plaintiffs,                          )
                                                     )
 v.                                                  )       Case No. 3:22-cv-49-NKM
                                                     )
 JOSHUA MAST, et al.,                                )
                                                     )
                Defendants,                          )
                                                     )
 and                                                 )
                                                     )
 UNITED STATES SECRETARY OF                          )
 STATE ANTONY BLINKEN, et al.,                       )
                                                     )
                Nominal Defendants.                  )
                                                     )

       DEFENDANTS JOSHUA AND STEPHANIE MAST’S MOTION TO FILE THEIR
          UNREDACTED MEMORANDUM IN SUPPORT OF THEIR MOTION TO
       DISMISS THE COMPLAINT AND ACCOMPANYING EXHIBITS UNDER SEAL

         Defendants Joshua and Stephanie Mast, by and through their undersigned counsel, hereby

 move the Court to file their Unredacted Memorandum in Support of Their Motion to Dismiss the

 Complaint under Rules 12(b)(1) and 12(b)(6) and corresponding Exhibits 1 through 7 under seal

 pursuant to Local Rule 9 and the Protective Order (Dkt. 26).

         1.     The Masts’ Memorandum contains discussion of and reference to materials that

 have been filed in the adoption proceeding in which the Does seek to unwind the Masts’ adoption

 of Baby Doe. That proceeding is under seal and will never be made public. See Va. Code Ann.

 § 63.2-1246. The Virginia state court has allowed the Masts to discuss that case’s filings in this

 case, provided the information and the filed documents remain under seal. See Exhibit 1 to the

 Memorandum in Support of the Motion to Dismiss (filed under seal). Additionally, the Masts
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 discuss a Petition for a Temporary Restraining Order previously filed in this Court under seal that

 contains highly sensitive information related to Joshua Mast’s military service. See Baby L. v.

 Esper, No. 3:20-cv-9-NKM, Verified Complaint and Petition for a Temporary Restraining Order,

 ECF No. 4. The Masts move for permission to redact their Memorandum to protect all sensitive

 information and to file the unredacted Memorandum under seal. The Masts are filing a redacted

 copy of the Memorandum on the public docket at the same time as this Motion.

         2.      Exhibits 1 and 3–7 are documents from the state court proceeding, and they contain

 discussion of and reference to the names of John Doe, Jane Doe, and Baby Doe. As such, the Court

 should seal that information pursuant to the Protective Order. See Protective Order (Dkt. 26) (“Any

 papers that identify any Plaintiff either directly or indirectly shall be filed under seal, with redacted

 copies placed in the public files.”). Further, the state court has ordered that these documents may

 be used by the parties provided they remain under seal. Exhibit 1 to the Memorandum in Support

 of the Motion to Dismiss (Oct. 12, 2022 Order) (filed under seal). 1

         3.      Exhibit 2 is an unredacted version of the Petition for a Temporary Restraining Order

 previously filed in this Court under seal, and it contains highly sensitive information related to

 Joshua Mast’s military service. This TRO Petition remains under seal in Baby L. v. Esper, and this

 Court should keep the TRO Petition under seal in this proceeding as well.

         4.      The Masts request for the above-mentioned documents to be kept under seal in

 perpetuity.




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   The Masts intend to meet and confer with the Does and with co-defendants about modifying the
 Protective Order (Dkt. 26), among other reasons, to expressly confirm that it covers the state-court
 records.
                                                    2
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       For the above reasons, the Masts respectfully request the Court to grant this Motion to File

 Their Unredacted Memorandum in Support of Their Motion to Dismiss the Complaint and

 Accompanying Exhibits Under Seal.



       Dated: October 14, 2022                      Respectfully submitted,

                                                    /s/ John S. Moran
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